      Case 2:22-cv-02687-DSF-JEM Document 20 Filed 09/16/22 Page 1 of 1 Page ID #:107




                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

COASTAL CORPORATION LTD.,                                 CASE NUMBER:


                                                                           2:22-cv-02687-DSF-JEM

                   v.             Plaintiff(s)

 HARVEST KING TRADING USA, LIMITED, et al.,
                                                                             NOTICE OF
                                                                           MEDIATION DATE
                                          Defendant(s).



YOU ARE HEREBY NOTIFIED THAT THE PANEL MEDIATOR HAS SCHEDULED A MEDIATION
IN THE ABOVE-CAPTIONED CASE

for              January 12, 2023          at     8:00        ✔   a.m. /     p.m.

LOCATION: Via Zoom



 The mediation session must be completed and an ADR-03 Report must be filed on or before the
 Court-ordered completion date.


Continuances are not favored and can only be granted by the Mediator up to the Court-ordered completion
date. Absent extraordinary circumstances, parties cannot request a continuance within three (3) business
days of a scheduled mediation.



Dated: September 16, 2022                       Panel Mediator: Andrew S. Pauly
                                                Address:            Shoreline, A Law Corporation
                                                                    1299 Ocean Avenue, Suite 400
                                                                    Santa Monica, California 90401-1007
                                                Phone:              (310) 451-8001




ADR–13 (01/12)                           NOTICE OF MEDIATION DATE                                   Page 1 of 1
